           Case 4:12-cr-00170-SWW Document 128 Filed 03/20/14 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA,                        *
                                                 *
                        Plaintiff,               *
vs.                                              *         No. 4:12-cr-00170-SWW-1
                                                 *
                                                 *
CHRISTOPHER ARNOLD HOGAN,                        *
                                                 *
                        Defendant.               *

                                             ORDER

       The two pro se motions [doc.#’s 126, 127] of defendant Christopher Arnold Hogan

to dismiss the indictment are hereby denied as Mr. Hogan is represented by appointed

counsel and this Court normally does not consider pro se motions from defendants who

are represented by counsel.1

                               IT IS SO ORDERED this 20th day of March 2014.

                                                      /s/Susan Webber Wright
                                                      UNITED STATES DISTRICT JUDGE




       1
          In his first motion to dismiss, Mr. Hogan states he is at his “wits end” as he has tried to
fire his attorney through this Court “twice for incompetence in not filing the present motion, plus
a speedy trial motion, and many more but the District Court refuses to discharge him and
reappoint a new counsel that won’t just see me 2 times in 2 years, that will file my motions, that
will answer my mail.” The Court reiterates, as stated in its February 24th order [doc.#117]
denying Mr. Hogan’s motion to terminate the services of appointed counsel, that Mr. Hogan is
not entitled to appointed counsel of his choice and the Court does not discern anything at this
time that would indicate that appointed counsel does not have Mr. Hogan’s “best interest at
heart” or that appointed counsel’s representation is outside the wide range of professionally
competent assistance. Of course, Mr. Hogan is not precluded from retaining private counsel of
his own choosing.
